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       UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF GEORGIA
            SAVANNAH DIVISIO N

UNITED STATES OF AMERIC A
                                                              Griffin, now appearing through Froelich,.'.
V. 405CRO59                                                disagrees, pointing out that the Government-h",
                                                           made no plea offer that would involve her
MARTIN J. BRADLEY, III, et uL ,
                                                           assisting the Government in prosecuting Robin .
               ORDER UNDER SEAL                            Doc . # 185 at 2, 7. Griffin also emphasizes that
                                                           Robin has obtained new counsel and waived all
I. BACKGRO JND                                             potential conflicts, along with Froelich's duty of
                                                           loyalty and any claim to attorney-client or other
  This criminal RICO prosecution arises from               privileges between himself and Froelich . Id. at
a prescription-drug-based fraud scheme                     2, 7; see also doc. # 160 exh . B. She also
advanced in varying degrees by eight individual            tenders the affidavit of another lawyer, Edward
and two corporate defendants . Doe. # 1 ; doc . #          Garland, who has opined that no disqualification
106 at 2 . The 288-count indictment accuses                of Froelich is warranted here . Doc . # 185 at 6-
Martin J . Bradley, III of conspiring with, among          7; see also doc. # 160 exh. A.
others, Sara E . Griffin, in racketeering
activities that defrauded state Medicaid and                   Griffin acknowledged under oath that she is
other programs, as well as various                         romantically involved and lives with Robin, a
pharmaceutical manufacturers and wholesalers . '           Savannah, Georgia lawyer . Doc. # 185 exh . A
                                                           at 14 . She also acknowledges that her defense
   Before the Court is the Magistrate Judge's              is being paid for by the Bradleys, the leaders of
(MJ's) Report and Recommendation (R&R),                    the alleged fraud . Id. Nevertheless, she insists
doc. # 165, to which defendant Griffin's                   that in light of the facts -- especially given her
Objections (doc . # 185) have been filed . The             own conflict waiver and Robin's full waiver of
Government has contended, and the MJ agreed,               Froelich's duties to him -- she is entitled under
that Griffin' s counsel , Jerome J . Froelich,             the Sixth Amendment to the attorney of her
labors under a potential conflict of interest              choice .
because he represented Sherwin Robin, an
unindicted co-conspirator in this case, while
Robin was a target of the grand jury's                     II . ANALYSIS
investigation into the Bradley schemes . Doc. #
165 . Thus, the MJ recommends that this Court                 The Court must balance the Government's
disqualify Froelich from representing Griffin .            (and the public's) interest in a fair trial against
Id. at 17.                                                 Griffin's two Sixth Amendment rights : (1) her
                                                           right to be represented by the counsel of her
                                                           choice, and (2) her right to a defense conducte d



                                                           3 Gri ffin had initi all y retained attorney Harvey Weitz to
                                                           represent her, but she replaced him with Froelich on
  Griffin, however, is named in only two counts and one    6110105 . Doc . # 165 at 2-3 . After Griffin retained
of some 20 schemes set forth in the Indictment . Doc . #   Froelich, Robin retained new counsel . Doc. # 185 at 10
185 at 9 .                                                 n. 9 .
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by a conflict-free attorney . U.S. v. Ross, 33           a co-defendant in the case, the government
F .3d 1507, 1523 (11th Cir. 1994) . Because              maintains that he could still be indicted . Doc . #
each criminal defendant has a presumptive right          152 at 1 n. 1 . The Government also emphasizes
to counsel of choice, this Court should hesitate         that if Griffin wished to entertain any plea
to disqualify defense counsel. Id. at 1522-23 .          negotiations, those negotiations would likely
                                                         require her to share information regarding
   That presumption may be overcome,                     Robin's role in the alleged schemes. Doc . # 161
however, upon demonstration of an actual or              at 2. Finally, even if Robin is not indicted, he
serious potential for conflict . Ross, 33 F .3d at       may be called as a witness in the trial. Id. In
1523 . Conflict analysis is not limited to               that event, Froelich would be required to cross-
consideration of the defendant's rights ; courts         examine his former client . Each of these events
must also uphold society's independent interest          would present a serious potential for conflict
in ensuring that criminal trials are conducted           and a significant challenge for Froelich .
within ethical standards and appear fair to all
who observe them . Ross, 33 F .3d at 1524 .                 Furthermore, this Court agrees with the MJ's
                                                         finding that the potential for conflict here is
   In this case, attorney Froelich represented           amplified by "the vast nature of evidence in this
Sherwin Robin in the grand jury investigation            case, the complexity of the charges, and the
that led to Griffin's eventual indictment . Doc.         uncertainty regarding the direction the
# 185 at 2-3 . Robin was not indicted . Doc . #          government' s case -in-chief will take." R&R,
152 at 1 n. 1 . Griffin had initially retained           doc. # 165 at 12 . Given the size and scope of
attorney Harvey Weitz to represent her, but she          this trial, this Court is not as willing as Griffin
replaced him with Froelich on 6/10/05 . Doc. #           to assume that this trial will unfold without any
165 at 2-3 . After Griffin retained Froelich,            surprises ; for example, if the nature of the
Robin retained new counsel . Doc. # 185 at 10            relationship between Griffin and Robin changes,
n.9.                                                     Robin might attempt to revoke his waiver,
                                                         requiring Froelich to withdraw in the middle of
   This is therefore most appropriately analyzed         a trial .
as a case of successive, rather than
simultaneous, representation . A defense                     This Court has a duty to ensure that criminal
lawyer's prior representation of a client can give       trials are conducted within ethical standards and
rise to an actual conflict when that former client       appear fair to all who observe them. Ross, 33
acts as a witness or has given the attorney              F.3d at 1524 . In this case, the Georgia ethics
information relevant to the new client' s case .         rules seem to prohibit Froelich's acceptance of
Smith v. White, 815 F .2d 1401, 1405 (11th Cir .         this representation: "Client consent is not
1987) ; Porter v. Wainwright, 805 F .2d 930,939          permissible if the representation . . . involves
(11th Cir. 1986) ; see also Enoch v. Gramley, 70         circumstances rendering it reasonably unlikely
F.3d 1490, 1496 (7th Cir. 1995) .                        that the lawyer will be able to provide adequate
                                                         representation to one or more of the affected
   In this case, despite the waivers offered by          clients." GA. RULES OF PROF'L CONDUCT
both Griffin and Robin, doc. # 160 exhs . B, C,          1 .9(c)(3) . This Court agrees with the MJ's
this Court agrees with the MJ that the potential         recommendation that the potential for conflict
for conflict demands the disqualification of             here is too serious to allow Froelich's
attorney Froelich . While Robin is not presently         participation. First, there is a very real

                                                     2
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possibility that the interests of Griffin and
Robin will become adverse as a natural course
of the proceedings ; additionally, there is the
possibility, noted above , that the relationship
between Griffin and Robin will change such
that Robin is no longer happy with the blank
check he has written to Froelich to favor
Griffin' s interests over his own . This risk of
conflict for Froelich is a risk that "no attorney
should accept and that no court should
countenance." McConico v. State of Ala., 919
F.2d 1543, 1547 (11th Cir . 1990) .

III. CONCLUSIO N

  Accordingly, the Court ACCEPTS the MJ's
R&R, doc . # 165, but it has added some
remarks to clarify the MJ ' s analysis in light of
the fact that Robin is no longer a client of
Froelich . See doe. # 165 at 6 n. 4.

   This analysis was prompted by the
Government 's motion (doc. # 145) for inquiry
regarding a possible conflict of interest, and this
Court now orders that Froelich is
DISQUALIFIED from continuing to represent
defendant Sara Griffin. As ordered in the MJ's
R&R, doc . # 165 at 17, Ms . Griffin shall
quickly make arrangements to secure counsel
with no relationship to Mr . Robin and not
burdened by any conflicts of interest . If Ms .
Griffin is unable to afford counsel , the Cou rt
will appoint counsel to represent her for the
entirety of these proceedings .

   This      4ay of September, 2005 .




B. AV    EDEI FTE .D, JUDGE
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
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                       United States District Court
                                 Southern District of Georgia
   UNITED STATES OF AMERIC A

                      vs .                                       CASE NO . CR405-5 9
   Martin Bradley, III, et al



The undersigned, a regularly appointed and qualified deputy in the office of this Clerk of this
District, while conducting the business of the Court for said Division does hereby certify the
following :
         1 Pursuant to instructions from the court, and in the performance of my official
                duties, I personally placed in the U .S . Mail a sealed envelope bearing the lawful
                frank of the Court, and properly addressed to each of the persons, parties or
                attorneys listed below;
                and
          2. That the aforementioned envelope(s) contain a copy of the documents known a s
                  Order                                      dated 9-9-05                             , which is
                 part of the official records of this case .


Date of Mailing :      9-9-05
Date of Certificate : 9-9-0 5


                                                                SCOTT L . POFF, CLERIC

                                                                By

NA ME :
    Sara Griffin, 2 Shipwatch Rd, Savannah, Ga. 31406
    Jerome Froelich, Jr., 1349 Peachtree St .W., Atlanta, Ga,




   Cert/Copy                                                         Cert/Copy
    ❑ ® District Judge                                                ❑ ❑        Dept . of Justic e
    ❑ ® Magistrate Judge                                              ❑ ❑        Dept . of Public Safety
    ❑ ❑ Minutes                                                       ❑ ❑        Voter Registrar
    ❑ [      U.S . Probation                                          ❑ ❑        U.S . Court of Appeal s
    ❑ ❑ U.S . Marshal                                                 ❑ ❑        Nicole/Debbie
    ❑     i U.S . Attorney                                            ❑ ❑        Ray Stalvey
    ❑ ❑ JAG Office                                                    ❑ ❑        Cindy Reynolds
